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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


MELISSA YATSKO AND DARIAN ALLEN,               )   CASE NO. 1:18-CV-814
Co-Administrators of the Estate of             )
Thomas Yatsko,                                 )
                                               )   JUDGE: DAN AARON POLSTER
                     Plaintiffs,               )
                                               )
           vs.                                 )
                                               )   PLAINTIFFS’ DISCLOSURE OF
SERGEANT DEAN GRAZIOLLI, et al.,               )   EXPERT TESTIMONY
                                               )
                     Defendants.               )
                                               )


      Pursuant to Fed.R.Civ.P. 26(a)(2), Plaintiffs, by and through undersigned counsel,

hereby disclose the witnesses they may use at trial to present evidence under Fed.R.Evid.

702, 703, or 705:

          •   Thomas Gilson, M.D., Cuyahoga County Medical Examiner, is expected to

              testify, consistent with his autopsy report and the medical examiner’s file,

              regarding the injuries Thomas Yatsko sustained, his medical condition at

              the time of the shooting, and the manner and cause of his death.

          •   Michael Lamb, M.S.F.S., and Carrie Mazzola, the scientists who certified

              the toxicology report that is part of the medical examiner’s file, are expected

              to testify consistent with the results of that report regarding the substances

              present in (and absent from) Mr. Yatsko’s blood.

          •   The paramedics/first responders who rendered care and aid to Mr. Yatsko,

              including Michael Brosman and Amelia Higgins, are expected to testify
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                about Mr. Yatsko’s conscious pain and suffering, consistent with their

                Cleveland EMS Patient Care Report.

            •   The doctors who rendered emergency care to Mr. Yatsko upon his arrival

                at University Hospitals, including Regan Berg, M.D., and Louis Horwitz,

                M.D., are expected to testify, consistent with Mr. Yatsko’s medical records,

                about the condition of Mr. Yatsko upon arrival to the hospital, the efforts

                they made to try and save him, and the course of his demise and ultimate

                death.

            •   A counselor/social worker at Cornerstone of Hope who has been providing

                grief counseling to Mr. Yatsko’s mother is expected to testify, consistent

                with her counseling notes, about the emotional impact of Mr. Yatsko’s death

                on his mother.1

            •   A psychiatrist who has provided care and treatment to Mr. Yatsko’s mother

                is expected to testify, consistent with his psychiatry notes, about the

                emotional/psychological/mental impact of Mr. Yatsko’s death on his

                mother.2

            •   Mr. Yatsko’s mother’s primary care physician is expected to testify,

                consistent          with         his        medical          notes,         about         the

                medical/emotional/psychological impact of Mr. Yatsko’s death on his

                mother.3




1  The counselor’s name has been provided to defense counsel but is being omitted from this, the publicly
filed, version of Plaintiffs’ expert-witness disclosure in order to respect and protect Ms. Yatsko’s privacy.
2 Ditto the psychiatrist’s name.
3 Ditto the PCP’s name.




                                                       2
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          In addition, Plaintiffs disclose the following retained experts consistent with

Fed.R.Civ.P. 26(a)(2)(B):

              •    Jeffrey J. Noble;

              •    Glen Andrew Haas; and

              •    Keith Marshall.4




                                            s/ Jeremy A. Tor
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                                            Counsel for Plaintiffs Melissa Yatsko and
                                            Darian Allen, Co-Administrators of the Estate of
                                            Thomas Yatsko




4   Plaintiffs have provided copies of these experts’ reports to defense counsel.


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                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 25th day of October, 2019, I electronically filed

the foregoing with the Clerk of Court by using the CM/ECF System. Copies will be served

upon counsel of record and may be obtained through the Court’s CM/ECF Systems.




                                 s/ Jeremy A. Tor
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                                 Counsel for Plaintiffs Melissa Yatsko and
                                 Darian Allen, Co-Administrators of the Estate of
                                 Thomas Yatsko




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